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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                            TYLER DIVISION

                                         §
UNITED STATES OF AMERICA                 §
                                         §
v.                                       §    Case No. 6:22-cr-22-JDK
                                         §
PETER J. BENNETT                         §
                                         §

           ORDER DISMISSING INDICTMENTS WITH PREJUDICE
       Before the Court is the United States’ sealed motion to dismiss indictments

 with prejudice. Docket No. 156. Defendant Peter J. Bennett was convicted by a jury

 on July 14, 2023, on all four counts charged in the First Superseding Indictment.

 Docket No. 91. On July 2, 2024, while awaiting sentencing, Bennett died. Docket

 No. 156 at 2.

       Given Bennett’s death, the United States moves to dismiss the indictments

 pending against Bennett with prejudice. Id. The Court GRANTS the motion and

 ORDERS that the indictments pending against Bennett be DISMISSED WITH

 PREJUDICE.

       So ORDERED and SIGNED this 22nd day of July, 2024.



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                                         JEREMY D. KERNODLE
                                         UNITED STATES DISTRICT JUDGE




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